         Case 1:21-cr-00105-APM Document 36 Filed 03/03/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :
                                            :       Case No.: 21-CR-105
      HENRY MUNTZER,                        :
                                            :
              Defendant.                    :


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney Susan T. Lehr. AUSA Susan T. Lehr will be substituting for

AUSA Jacob Strain.



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                            By:      /s/ Susan T. Lehr
                                                    SUSAN T. LEHR
                                                    Assistant United States Attorney
                                                    NE Bar No. 19248
                                                    District of Columbia
                                                    Capitol Riot Detailee
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                                                    Omaha, Nebraska 68102
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                                                    Email: Susan.Lehr@usdoj.gov
         Case 1:21-cr-00105-APM Document 36 Filed 03/03/22 Page 2 of 2




                               CERTIFICATE OF SERVICE

       On this 3rd day of March, 2022, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                                     /s/ Susan T. Lehr
                                                     SUSAN T. LEHR
                                                     Assistant United States Attorney




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